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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                           Chapter 11

                                                                     Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                                     (Jointly Administered)
                                          Debtors.
                                                                     Re: Docket Nos. 657 & 941


    NOTICE OF FILING OF BLACKLINE OF SECOND MODIFIED FIRST AMENDED
           JOINT CHAPTER 11 PLAN OF LORDSTOWN MOTORS CORP.
                       AND ITS AFFILIATED DEBTORS

            PLEASE TAKE NOTICE that, on November 1, 2023, the above-captioned debtors and

debtors-in-possession (the “Debtors”) filed the Modified First Amended Joint Chapter 11 Plan of

Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 657] (the “Modified First

Amended Plan”) with the United States Bankruptcy Court for the District of Delaware (“Court”).

            PLEASE TAKE FURTHER NOTICE that, contemporaneously herewith, the Debtors

have filed the Second Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.

and Its Affiliated Debtors [Docket No. 941] (the “Second Modified First Amended Plan”).

            PLEASE TAKE FURTHER NOTICE that for the convenience of the Court and all

parties in interest, a blackline of the Modified First Amended Plan against the Second Modified

First Amended Plan is attached hereto as Exhibit 1,



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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Dated: January 31, 2024
Wilmington, Delaware

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